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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
CHRISTOPHER MOHLER,
                                 )
Plaintiff,
                                 )
v.                               )
ANTHEM BLUE CROSS                )   CIVIL ACTION
BLUE SHIELD                      )
                                 )   FILE No. 1:21-cv-01319-TCB
HEALTHCARE PLAN OF               )
GEORGIA, INC.,                   )
                                 )
      Defendant.
                               ORDER

      The parties having announced that this case has settled, the Court hereby

DIRECTS the Clerk to ADMINISTRATIVELY CLOSE the case. The parties

shall file a dismissal upon finalization of the settlement documents. If settlement

negotiations fail, the parties should promptly move to reopen the case.1

      SO ORDERED, this 25th day of ___
                                    Octob er____, 2021.
                                       ____



                                       ___________________________
                                       Hon. Timothy C. Batten, Sr.
                                       Chief United States District Judge



      1
         Administratively closing a case is a docket-control device used by the Court
for statistical purposes. The parties need only file a motion to reopen the case if
settlement negotiations fail. In addition, this Order will not prejudice the rights of
the parties to this litigation in any manner.
